Case 2:05-Cr-20051-BBD Document 31 Filed 08/31/05 Page 1 of 2 Page|D 34
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DIsTRrCT oF TENNESSEE F"-ED BY -~----- D'°'
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V_ Cr. No. 05-2£`@51-11)}
JOSEPH JORDAN

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT and DIRECTING ISSUANCE
OF WARRANT

The defendant failed to appear as directed for arraignment on Wednesday, August 31, 2005.
The United States Attorney requested that the court issue a warrant for the defendant's arrest. It is
therefore ORDERED that a warrant be issued for the defendant's arrest for failure to appear.

Pursuant to the Speedy 'l`rial Act, as set out in 18 U.S.C. § 3161(h)(3)(A) the court may grant
the defendant a period of excludable delay to serve the ends of justice, if the defendant is unavailable
or absent.

It is therefore ORDERED that the time period of August 31, 2005 through such time as the
defendant is arrested and next appears before this court be excluded from the time limits imposed

by the Speedy Trial Act for trial of this case.

ARRAIGNMENT WILL BE RESET AFTER THE DEFENDANT IS

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UNITED STATES MAGISTRATE JUDGE

APPREHENDED.

DATE: 08/31/05

This document entered on the docket shee ' l'
with Rule 55 and/or 32(b) FRCrP on ®

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20051 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

